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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 SAMUEL WONG
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2772
   Facsimile: (916) 554-2900
 5
   Attorneys for Plaintiff
 6 United States of America

 7

 8                                   IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            Case No.: 2:10-CR-00255-TLN

12                 Plaintiff,                             STIPULATION AND ORDER TRANSFERRING
                                                          AND APPLYING APPEARANCE BOND TO
13                              v.                        PARTIAL RESTITUTION PAYMENT

14   KIEDOCK KIM,                                         Court: Hon. Troy L. Nunley
                                                          No Hearing Requested
15                 Defendant.
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17
             Whereas, on July 9, 2010, defendant Kiedock Kim signed and filed an unsecured appearance
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     bond in this case (see ECF No. 12) and, thereafter, on July 13, 2010, Kim deposited $100,000 into the
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     Court’s registry to secure the bond as memorialized by receipt number CAE200027864 on the Docket
20
     Report by Court Clerk’s text entry dated July 13, 2010;
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             Whereas, pursuant to the parties’ Plea Agreement, Kim agreed to pay to the United States
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     Bureau of Land Management $107,160 in restitution prior to sentencing, and to facilitate Kim's ability to
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     pay restitution, the United States agreed to stipulate that the Court Clerk may forthwith release to the
24
     United States Bureau of Land Management as a partial restitution payment the $100,000 that Kim
25
     posted to secure his pretrial release; and
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             Whereas, on February 5, 2015, Kim deposited $7,160 into the Court's registry as memorialized
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     by receipt number CAE200064915 as partial payment of his restitution obligations under the Plea
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                                                          1
     Stipulation And Order Re: Payment Of Restitution
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                  Case 2:10-cr-00255-TLN Document 107 Filed 03/05/15 Page 2 of 3


 1 Agreement to the United States Bureau of Land Management,

 2           It is hereby stipulated by and between the parties, through their respective counsel, that:
 3           1.       Subject to the approval of the Court and upon receipt of the Court's "Judgment In A
 4 Criminal Case" the Court Clerk shall transfer to the United States Department of Interior, Bureau of

 5 Land Management at the address below as a restitution payment the amount of $107,160. The $107,160

 6 amount is comprised of the $100,000 that Kim posted on July 13, 2010, to secure his pretrial release and

 7 the $7,160 deposit paid on February 5, 2015. The Court Clerk shall promptly issue a $107,160 check

 8 payable to the "United States Department of Interior, Bureau of Land Management" and mail that check

 9 addressed to:

10           United States Department of the Interior
             Bureau of Land Management
11           Attention: Administrative Officer Michael Hoffman
             Northern California District, Redding Field Office
12           355 Hemsted Drive
             Redding, California 96002
13

14           2.       Kim shall remain subject to the conditions of pretrial release previously set, except that
15 Kim may remain on pretrial release on an unsecured $100,000 bond.

16                                                            BENJAMIN B. WAGNER
                                                              United States Attorney
17 Dated: February 19, 2015

18                                                      By:   /s/ Samuel Wong
19                                                            SAMUEL WONG
20                                                            Assistant United States Attorney

21
     Dated: February 19, 2015                                 /s/ Malcolm Segal
22
                                                              MALCOM SEGAL, ESQ.
23                                                            Attorney for defendant Kiedock Kim

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     Stipulation And Order Re: Payment Of Restitution
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                  Case 2:10-cr-00255-TLN Document 107 Filed 03/05/15 Page 3 of 3


 1                                                      ORDER

 2
             The Court having received, read, and considered the stipulation of the parties, and good cause
 3
     appearing therefrom, IT IS ORDERED that the Court adopts the stipulation of the parties in its entirety
 4
     as its ORDER. Accordingly, IT IS ORDERED that:
 5
             1.       Upon receipt of the Court's "Judgment In A Criminal Case" the Court Clerk shall transfer
 6
     to the United States Department of Interior, Bureau of Land Management at the address below as a
 7
     restitution payment the amount of $107,160. The $107,160 amount is comprised of the $100,000 that
 8
     Kim posted on July 13, 2010, to secure his pretrial release and the $7,160 deposit paid on February 5,
 9
     2015. The Court Clerk shall promptly issue a $107,160 check payable to the "United States Department
10
     of Interior, Bureau of Land Management" and mail that check addressed to:
11
             United States Department of the Interior
12           Bureau of Land Management
             Attention: Administrative Officer Michael Hoffman
13           Northern California District, Redding Field Office
             355 Hemsted Drive
14           Redding, California 96002
15
             2.       Kim shall remain subject to the conditions of pretrial release previously set, except that
16
     Kim may remain on pretrial release on an unsecured $100,000 bond.
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     Dated: March 4, 2015
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22                                                              Troy L. Nunley
                                                                United States District Judge
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     Stipulation And Order Re: Payment Of Restitution
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